            Case 3:20-cr-00861-JLS Document 75 Filed 10/02/20 PageID.132 Page 1 of 2
AO 245B (CASO Rev. 1/19) Judgment in a Criminal Case


                                         UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF CALIFORNIA
              UNITED STATES OF AMERICA                                 JUDGMENT IN A CRIMINAL CASE
                                    V.                                 (For Offenses Committed On or After November 1, 1987)
        JORGE ARTURO CASTRO-MIRANDA (1)
                                                                          Case Number:         3:20-CR-00861-JLS

                                                                       Federal Defenders, Inc., by: Michelle Cynthia Angeles
                                                                       Defendant's Attorney
USM Number                          15144-196

• -
THE DEFENDANT:
IZI pleaded guilty to count(s)            1 of the Information

D     was found guilty on count(s)
      after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):


Title and Section/ Nature of Offense                                                                                      Count
8: 1324(a)(2)(B)(ii); 18:2 - Attempted Bringing in Aliens For Financial Gain; Aiding and Abetting                             1




    The defendant is sentenced as provided in pages 2 through                    2            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D     The defendant has been found not guilty on count(s)

IZI Count(s)         (remaining counts)                          are          dismissed on the motion of the United States.

[ZI   Assessment: $100.00 imposed



IZI   JVTA Assessment*: $5000.00 waived; The Court finds the defendant indigent
      *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
IZI   No fine                   •        Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant's economic circumstances.
            Case 3:20-cr-00861-JLS Document 75 Filed 10/02/20 PageID.133 Page 2 of 2
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

DEFENDANT:                JORGE ARTURO CASTRO-MIRANDA (1)                                          Judgment - Page 2 of 2
CASE NUMBER:              3 :20-CR-00861-JLS

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 36 months




 •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ~     The court makes the following recommendations to the Bureau of Prisons:
          1. Western Region (Arizona or Southern California) to accommodate family visits.




 •     The defendant is remanded to the custody of the United States Marshal.

 •     The defendant must surrender to the United States Marshal for this district:
       •    at                              A.M.               on
       •    as notified by the United States Marshal.

       The defendant must surrender for service of sentence at the institution designated by the Bureau of
 •     Prisons:           ·
       •     on or before.
       •     as notified by the United States Marshal.
       •     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows :

       Defendant delivered on                                            to
                                --------------
 at - - - - - - - - - - - - , with a certified copy of this judgment.


                                                                    UNITED STATES MARSHAL



                                     By_                    DEPUTY UNITED STATES MARSHAL



                                                                                                    3:20-CR-00861-JLS
